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 5

 6

 7


 8
                         UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF CALIFORNIA
 9
     LAWRENCE GAY                                 CASE NO. '18CV2661 CAB BLM
10

11
                                                  COMPLAINT FOR DAMAGES AND
     Plaintiff,                                   INJUNCTIVE RELIEF FOR
12
                                                  VIOLATIONS OF AMERICAN'S
     vs.                                          WITH DISABILITIES ACT· UNRUH
13
                                                  CIVIL RIGHTS AC'"[~ CALIFORNIA
     JUAN ANTONIO BERUMEN dba EL                  DISABLED PERSOt'iS ACT·
14   REY MORO TACO SHOP,                          NEGLIGENCE: NEGLIGENCE PER
                                                  SE; DECLATORY RELIEF.
     OAKLAND SUTTER HOTEL LP, and
15
     DOES 1-10, INCLUSIVE.
16

17
     Defendants.

18

19

20          Plaintiff, LAWRENCE GAY, (hereinafter referred to as "Plaintiff'), files his
21
     causes of action within this Civil Complaint against Defendant(s) JUAN
22

23
     ANTONIO BERUMEN dba EL REY MORO TACO SHOP, OAKLAND

24   SUTTER HOTEL LP, and DOES 1-10, INCLUSIVE. and would show unto the
25
     Court the following:
26

27

28

                                              1


                     GAY VEL REY MORO TACO SHOP ADA COMPLAINT 11-21-2018
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 1
                                   I. JURISDICTION AND VENUE
 2
             1.       This Court has original jurisdiction regarding this matter pursuant to
 3


 4      28 U.S.C. Section 1331 and 1343(a)(3) and (a)(4) for claims arising under the
 5
           Americans with Disabilities act of 1990,42 USC Section 12101, et seq.
 6

 7         2.        Pursuant to pendant jurisdiction, an attendant and related cause of
 8
     action, arising from the same center of operative facts; and, arising out of the same
 9

10
     transactions this matter is also brought under California's Unruh Civil Rights Act

11   Civil Code Section 51, and the California Disabled Persons Act, and the Disabled
12
     Persons Act, Civil Code Section 54, et seq., which expressly incorporates under
13

14   common law theories and for injunctive relief
15
           3.        Venue is proper in this court pursuant to 18 U.S.C. Section l39l(b)
16

17   and is founded on the fact that the real property and business location, which is the
18
     subject of this action, is located in the District where the Plaintiffs cause(s) of
19
     action arose.
20

21         4.        All causes of action based on Federal law and those based on State
22
     law, as states, arose from a commonality of operative facts. Plaintiff was denied
23

24   equal access to Defendants facility, goods, and services in violation of both Federal
25
     and State laws or was and/or was injured due to violations of the afore-referenced
26

27
     access laws. The State causes of action included in Plaintiffs complaint are

28

                                                  2

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 1
     related to the Federal causes of action as they derive from the same controversy.
 2
     Therefore, the issues are best tried in one judicial proceeding.
 3

 4                Plaintiff also brings forth the action as a private Attorney General
 5
     under State law to enforce important rights of all similarly disabled persons.
 6

 7   Therefore, the Plaintiff acted as a private Attorney General, through his attorney, t
 8
     enforce the Federal Regulations and applicable California Codes to ensure that EL
 9

10
     REY MORO TACO SHOP, is accessible for all disabled persons and not just

11   himself.
12
                                             II. PARTIES
13

14         5.     Plaintiff alleges that Defendants are, and at all times mentioned, were
15
     a business, corporation or franchise organized and existing and/or doing business
16

17
     under the laws of the State of California, JUAN ANTONI ON BERUMEN dba EL

18
     REY MORO TACO SHOP, OAKLAND SUTTER HOTEL LP ("REY MORO
19
     TACO SHOP"), located at 2710 Garnet Avenue, California 92109, (herein
20

21   sometimes known as "property"). Plaintiff alleges that Defendant is, and at all
22
     times was, the owner/operator, lessee or lessor ofthe facility located at the
23

24   property.
25
           6.     Plaintiff alleges that DOES 1 through I 0 were at all times relevant
26

27
     lessors, lessees, property owners, subsidiaries, parent companies, employers,

28   employees, agents, corporate officers, managers, principals and/or representatives
                                                3

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 1
     of Plaintiff. Plaintiff is unaware of the true names and capacities of Defendants
 2
     sued herein, as DOES 1 through 10, inclusive, and therefore, sues those
 3

 4   Defendants by fictitious names. Plaintiff requests that the Court grant leave to
 5
     amend this complaint to allege the true names and capacities when determined by
 6

 7   whatever source. Defendant and DOES 1 through 10 are hereinafter collectively
 8
     referred to as "Defendants".
 9

10
           7.      Plaintiff alleges that Defendants at all times have been and are

11   relevant to this cause of action, the owners, franchisees, lessees, general partners,
12
     limited partners, agents, employees, employers, representing partners, subsidiaries,
13

14   partner companies, joint ventures and/or divisions of the remaining Defendants and
15
     were acting within the course and scope of that relationship. Plaintiff is further
16

17
     informed and believes, and therefore alleges that each of the Defendants gave

18
     consent to, ratified, and/or authorized the acts alleged of each of the remaining
19
     defendants.
20

21         8.      Plaintiff is a qualified individual with a disability as provided by the
22
     Americans with Disabilities Act of 1990, 42 USC Section 12102, and the
23

24   California Unruh Civil rights Act, Sections 51, et seq. and 52, et seq., the Disabled
25
     Persons Act, Sections 54, et seq., Govt. Code, Sections 12926, and other statutory
26
     measures that refer to the protection of the rights of "physically disabled persons".
27

28   Plaintiff visited the public accommodations owned and operated by Defendants
                                                 4

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 1
     with the intent to purchase and/or use the goods, services, facilities, privileges,
 2
     advantages, or accommodations operated and/or owned by Defendants.
 3

 4                                           III. FACTS
 5
           9.     Plaintiff alleges that the subject facility has been newly constructed
 6

 7   and/or underwent remodeling, repairs, or alterations since 1992, and that
 8
     Defendants have failed to comply with California access standards which applied
 9

10
     at the time of each such new construction and/or alteration or failed to maintain

11   accessible features in operable working condition.
12
           10.    Plaintiff is mobility impaired and uses a wheelchair. He has been
13

14   classified as having a physical impairment, as required by 42 USC Section
15
     12102(2)(A) and requires a wheel chair for mobility and to gain access to public
16

17   establishments.;
18
           11.    On or about June 4, 2018, Plaintiff was denied full and equal access to
19
     EL REY MORO TACO SHIOP, owned and/or operated by the Defendants
20

21   because the property was inaccessible to individuals belonging to the disabled
22
     community who use wheel chairs for mobility. Full accessibility was denied due to
23

24   a lack of access to the premises. EL REY MORO TACO SHIOP is a food and
25
     dining facility and, a business open to the public, a place of public accommodation,
26

27
     and a business establish open to the public. Plaintiff sent EL REY MORO TACO

28

                                                5

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 1
     SHIOP a letter via U.S. Mail on or about June 4, 2018 in advice of the violations
 2
     (See Exhibit "A")
 3

 4          Plaintiff states that there was no indoor seating in the dining room area
 5
     available for him and no designated or alternative table would accommodate his
 6

 7   wheel chair. His wheelchair must be able to fit under the table without the barriers
 8
     of four-legs attached to the table, the table must be high enough to accommodate
 9

10   his wheelchair, and there must be clear accessibility around the table for him to be

11
     able to maneuver the wheelchair. Plaintiff asked an employee if there was any
12
     dining room seating for disabled persons and was told that there is no other dining
13

14   room seating available. There was no dining room table present that would meet
15
     these required accommodations at EL REY MORO TACO SHIOP.
16

17          Plaintiff was unable to gain full use of the dining room area and, therefore,
18
     was barred from full access to the facilities. He was unable to enjoy the facilities
19
     to which a disabled person is entitled.
20

21          Defendants are required to modify any discriminatory policies, practices and
22
     procedures to avoid discriminating against people with disabilities, including
23

24   Plaintiff.
25
            12.   Defendants' discrimination caused Plaintiffto suffer harmful injuries
26

27
     including difficulty, discomfort and embarrassment.

28


                                                6

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 1
            13.     The harmful conduct of Defendants has and will cause great and
 2

 3
     irreparable injury to Plaintiff in that Defendants' failure to provide full and equal

 4   access to individuals with disabilities, including those to Plaintiff, denies Plaintiff
 5
     access the facilities in the EL REY MORO TACO SHIOP and, therefore, is in
 6

 7   violation of the ADA Accessibility Guidelines and/or California Title 24 Building
 8
     Code requirements, and/or other applicable Codes, statutes and/or other
 9

10
     regulations.

11         14.      Plaintiff alleges that Defendants have continues to operate a business
12
     open to the public which is inaccessible to him and other individuals with
13

14   disabilities. Pursuant to 42 USC Section 12188(a), Defendants are required to
15
     remove barriers to their existing facility. Plaintiff further alleges that removal of
16

17   the barriers described in this complaint is readily achievable and can be removed
18
     with minimal difficulty or expense. Or, equivalent facilities may be provided
19
     without much difficulty or expense. Defendants are also required to modify any
20

21   discriminatory policies, practices and procedures to avoid discriminating against
22
     people with disabilities, including Plaintiff.
23

24         Plaintiffs attorney retained the services of WILLIAM CARTER an ADA
25
     Specialist, to inspect the property and write a report ofviolation(s) with photos. A
26

27
     detailed report was prepared and filed with this complaint. (See Attached as

28   Exhibit "B")
                                                 7


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 1
           15.    Plaintiff alleges that the discriminatory policies, practices and
 2
     procedures, precluding him and other disabled persons from full access of the
 3

 4   public accommodations will continue to exist for any future visits, which will
 5
     result in future discrimination of Plaintiff and other disabled persons in violation o
 6

 7   the Americans with Disabilities Act.
 8
                            IV. FIRST CLAIM FOR VIOLATION
 9                       OF AMERICANS WITH DISABILITIES ACT
10
                               42 USC SECTION 12101, et seq.

11         16.    Plaintiff alleges and incorporates by reference each and every
12
     allegation contained in paragraphs 1 through 15, inclusive as set forth herein.
13

14         17. · Plaintiff was denied full and equal access to Defendants' goods,
15
     services, facilities, privileges, advantages, or accommodations within a public
16

17
     accommodation owned, leased and/or operated by Defendants, in violation of 42

18   USC Section 12182(a). Therefore, Plaintiff was subjected to discrimination and is
19
     entitled to injunctive relief pursuant to 42 USC Section 12188 as a result of the
20

21   actions or inaction of Defendants.
22
            18.   Among other remedies, Plaintiff seeks an injunctive order requiring
23

24   compliance with state and federal access laws for all access violations that exist at
25
     the property, requiring removal of architectural barriers and modification of
26
     policies, practices, and procedures, and other relief as the Court may deem proper.
27

28

                                                8

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 1
           19.    Plaintiff also seeks any other order that will redress the discrimination
 2
     to which he has been subjected, is being subjected and/or will be subjected.
 3

 4                        V. SECOND CLAIM FOR VIOLATION
 5
                               OF CALIFORNIA CIVIL CODE

 6

 7         20.    Plaintiff alleges and incorporates by reference each allegation
 8
     contained in paragraph 1 through 19, inclusive as set forth herein.
 9

10
           21.    Under ADA, it is an act of discrimination to fail to ensure that the

11   privileges, advantages, accommodation, facilities, goods and services of any place
12
     of public accommodation is offered on a full and equal basis by anyone who owns,
13

14   leases, or operates a place of public accommodation pursuant to 42 U.S.C. Section
15
     12182(a). Discrimination is defined, inter alia, as follows:
16

17
                  a.      A failure to make reasonable modification in policies, practices,

18                or procedures, when such modifications are necessary to afford goods,
19
                  services, facilities, privileges, advantages, or accommodations to
20

21                individuals with disabilities, unless the accommodation would work
22
                  as a fundamental alteration of those services and facilities pursuant to
23

24                42 U.S.C. Section 1218(b)(2)(A)(ii).
25
                  b.      A failure to remove architectural barriers where such removal is
26
                  readily achievable pursuant to 42 U.S.C. Section 12182(b)(2)(A)(iv).
27

28

                                                9

                       GAY VEL REY MORO TACO SHOP ADA COMPLAINT 11-21-2018
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 1
                   Barriers are defined by reference to the ADAAG, found at 28 C.F.R.,
 2

                   Part 36, Appendix "D".
 3

 4                 c.      A failure to make alteration in such a manner that, to the
 5
                   maximum extent feasible, the altered portions of the facility are
 6

 7                 readily accessible to and usable by individuals with disabilities,
 8
                   including individuals who use wheelchairs or to ensure that, to the
 9

10
                   maximum extent feasible, the path of travel to the altered area and the
11
                   bathrooms, telephone, drinking fountains, serving the altered area, are
12
                   readily accessible to and usable by individuals with disabilities
13

14                 pursuant to 42 U.S.C. Section 1218(a)(2).
15
            22.    Plaintiff alleges that based on the facts placed in this complaint,
16

17    Defendants did, and continues to, discriminate against Plaintiff and persons
18
      similarly situated by denying disabled persons full and equal access to the facility
19
      to purchase goods, services, facilities, privileges, advantages or accommodations
20

21    within a public accommodation, in violation of California Civil Code Sections 51
22
      and 54, et seq.
23

24          23.    Plaintiff alleges that Defendants' actions constitute a violation of
25
      Plaintiffs rights under California Civil Code Sections 51 and 54, et seq., and
26

27
      therefore, entitling him to damages under California Civil Code Section 54.3 for

28    each offense. Plaintiff suffered difficulty, discomfort and embarrassment because
                                                 10

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 1
      of his denial to full and equal access as stated above. The amount of damages
 2

 3
      suffered by plaintiff is not yet determined. When the amount is determined,

 4    Plaintiff will ask the Court for leave to amend this complaint to reflect this amount.
 5
      Plaintiff is also entitled to attorneys' fees and costs.
 6

 7           24.   The actions of Defendants were and are in violation ofthe Unruh
 8
      Civil Rights Act, California civil Code Sections 51 and 54, et seq., therefore
 9

10
      entitling Plaintiff to damages suffered by him under Civil Code Section 52 for each

11    offense. The amount of damages suffered by plaintiff has not yet been determined.
12
      When the amount has been determined, Plaintiff will ask the court for leave to
13

14    amend this complaint to reflect this amount. In addition, the Plaintiff is entitled to
15
      attorneys' fees and costs.
16

17
             25.    The actions of Defendants are in violation of the California Civil

18    Code Sections 51, et seq. as they were willfully, deliberate and reckless in nature
19
      for the rights of disabled persons including Plaintiff. Therefore, Plaintiff is entitled
20

21    to punitive and exemplary damages or treble damages pursuant to California Civil
22
      Code Sections 52 and 54.3, et seq. and under common law principles.
23

24           26.    Plaintiff seeks all of remedies available to him under Civil Code
25
      Sections 51, 52, et seq., 54, 54.1, 54.2, 54.3, and any other Civil code sections that
26

27
      provide remedies for the discrimination suffered by Plaintiff, including damages

28    and attorneys' fees
                                                  11

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 1
                        VI. THIRD CLAIM FOR NEGLIGENCE PER SE
 2
            27.    Plaintiff alleges and incorporates by reference each and every
 3

 4    allegation contained in paragraphs 1 through 25, inclusive as set forth herein.
 5
            28.    At all times relevant herein, there was in effect the Americans with
 6

 7    Disabilities Act, California Civil Code Sections 51 and 54, et seq., all of which
 8
      require that public accommodations and facilities provide services to people with
 9

10
      disabilities that are equal and not inferior to the services provided to patrons who

11    are not physically disabled.
12
            29.    Defendants owe Plaintiff a mandatory duty to provide him full and
13

14    equal access to accommodations, advantages, facilities, privileges and services of
15
      all business establishments. Plaintiff is a member of the class of individuals who
16

17
      are protected under these statutes.

18
            30.    Defendants' acts or omissions alleged by Plaintiff are a violation of
19
      statutory requirements including, the Americans with Disabilities Act, California
20

21    Civil Code Sections 51 and 54, et seq. and public policy, therefore constituting
22
      negligence per se.
23

24          31.    As a proximate result of the actions or inactions of Defendants,
25
      Plaintiff has suffered the harms that these statutes are designed to prevent.
26
            32.    Plaintiff requests special and general damages as well as statutory
27

28    damages according to proof, as described herein.
                                                12

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 1
                           VII. FOURTH CLAIM FOR NEGLIGENCE
 2

 3
            33.    Plaintiff alleges and incorporates by reference each allegation stated

 4    in paragraphs 1 through 32, inclusive as set forth herein.

                   Defendants have a duty to exercise ordinary and reasonable care as set



                   Defendants have failed to exercise ordinary and reasonable care as set



11
            36.    As an actual and proximate result of Defendants' failure to exercise
12
      ordinary and reasonable care, Plaintiff suffered general and special damages.
13

14          3 7.   As actual controversy exists, Plaintiff alleges that Defendants'
15
      property is in violation of the disabled access laws of the state of California
16

17    including Civil Code Sections 51, 52, and 54, et seq., and Title III ofthe
18
      Americans with Disabilities Act and Accessibility Regulations.
19
                       VIII. FIFTH CLAIM FOR DECLATORY RELIEF
20

21          38.    Plaintiff alleges and incorporates by reference each allegation in
22
      paragraphs 1-37, inclusive, as though set forth fully herein.
23

24          39.    A controversy exists as Plaintiff alleges that Defendants' premises are
25
      in violation of the disabled access laws of the state of California including, but not
26

27
      limited to, Civil Code Sections 51, 52, and 54 et seq., and Title III of the

28    Americans with Disabilities Act and accessibility Regulations.
                                                 13

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 1
                        IX. SIXTH CLAIM FOR INJUNCTIVE RELIEF
 2
            40.   Plaintiff alleges and incorporates by reference each and every
 3

 4   allegation contained in paragraphs 1 through 39, inclusive, as set forth herein.
 5
            41.   Plaintiff will suffer irreparable harm unless Defendants are ordered to
 6

 7   remove architectural barriers at Defendants' public accommodation, and/or to
 8
     modify their policies, practices, and procedures regarding accommodating people
 9

10
     with disabilities, Plaintiff has no adequate remedy at law to redress the

11   discriminatory conduct of Defendants.
12
            42.    Plaintiff seeks injunctive relief to redress his injuries.
13

14                                     JURY TRIAL DEMAND
15
                   Plaintiff hereby requests a Jury Trial in this matter.
16

17
                                             CONCLUSION

18          WHEREFORE, Plaintiff prays for a judgment against the Defendants,
19
      JUAN ANTONI ON BERUMEN dba EL REY MORO TACO SHOP, OAKLAND
20

21    SUTTER HOTEL LP, and DOES 1-10, INCLUSIVE.
22
            1.     An order enjoining Defendants from violating disabled access laws of
23

24    the United States and of the State of California.
25
            2.     An order that the Court declare the respective rights and duties of
26
      Plaintiff and Defendant(s) as to the removal of architectural barriers at defendants'
27

28

                                                  14

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 1
      public accommodation and/or as to the modification of discriminatory policies,
 2
      practices, and procedures.
 3

 4             3.   Injunctive relief, compelling Defendant(s) to comply with the
 5
      Americans with Disabilities Act and the Unruh Civil Rights Act.
 6

 7             4.   An order awarding plaintiff actual, special and/or statutory damages
 8
      for violations of his civil rights and for restitution including, but not limited to
 9

10
      $4,000.00 in damages for each and offense in violation of Civil Code section 51,

11    and/or $1,000.00 for each offense in violation of Civil Code Section 54, et seq. and
12
      for each occasion upon which Plaintiff was denied or deterred from availing
13

14    himself of Defendant's facilities, good and services.
15
               5.   An order awarding punitive and exemplary damages according to
16

17
      proof.

18
               6.   An order awarding up to three times the amount of actual damages
19
                    pursuant to the Unruh Civil Rights Act and the Disabled Persons Act.
20

21             7.   An order awarding Plaintiff reasonable attorney fees and costs.
22
               8.   An order awarding such other relief as the Court deems proper.
23

24    Respectfully Submitted by,
25

26    Dated: 11/21/2018
27
                                        MICHAEL A.TBI, Esq.
                                        Attorney for Plaintiff
28                                      LAWRENCE GAY
                                                  15

                      GAY VEL REY MORO TACO SHOP ADA COMPLAINT 11-21-2018
